            Case 3:20-mj-00128        Document 1-1       Filed 06/05/20      Page 1 of 6
                                                                               3:20-mj-00128


DISTRICT OF OREGON, ss:                AFFIDAVIT OF SCOTTY NOWNING

              Affidavit in Support of a Criminal Complaint and Arrest Warrant

I, Scotty Nowning, being first duly sworn, hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am an “investigative or law enforcement officer of the United States” within the

meaning of Title 18, United States Code, Section 2510(7). I am currently employed as a Task

Force Officer with the Drug Enforcement Administration (DEA), United States Department of

Justice. In that capacity, I investigate violations of the Controlled Substances Act, Title 21,

United States Code, Section 801, et. seq. I am also a Detective with the Salem Police

Department (Salem, Oregon) and have approximately 26 years of law enforcement experience. I

have received training through the Department of Public Safety Standards and Training (DPSST)

in the State of Oregon, for the certification as a police officer in the State of Oregon and I hold

an Advanced Certificate through this institution. I have completed all stages of police training,

including crime investigation, acquisition and preservation of evidence, felony apprehension,

search and seizure, and other police operations. During my law enforcement career, I have

participated in hundreds of drug related investigations and search warrants. I have personally

utilized many investigative methods available to law enforcement during the course of an

investigation, which include but are not limited to: surveillance, informants, undercover officers,

video surveillance, photography, pen registers, vehicle trackers, wire taps, search warrants, body

wires and other physical and technological investigative means.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Michael Don KIM (hereinafter “KIM”) for Attempted Possession with Intent to Distribute

Cocaine in violation of Title 21 United States Code, Sections 841(a)(1), (b)(1)(B) and 846. As

Affidavit of DEA Task Force Officer Scotty Nowning                                            Page 1
             Case 3:20-mj-00128        Document 1-1       Filed 06/05/20     Page 2 of 6




set forth below, I have probable cause to believe, and do believe, KIM has committed the crime

of Attempted Possession with Intent to Distribute Cocaine in violation of Title 21 United States

Code, Sections 841(a)(1), (b)(1)(B) and 846.

                                           Applicable Law

        3.       Title 21 United States Code, Sections 841(a)(1), (b)(1)(B) and 846 provides that it

is unlawful to possess with the intent to distribute cocaine, and to attempt to do so.

                                         Purpose of Affidavit

        4.       I have obtained the facts set forth in this affidavit through my personal

participation in the investigation described below; from oral and written reports of other law

enforcement officers; and, from records, documents and other evidence obtained during this

investigation.

        5.       On May 28, 2020, a Confidential Source, hereinafter referred to as CS, notified

TFO Zuniga that he had been approached at his worksite by a male, identified as Don Q LAO,

who was looking for a cocaine source. CS had told LAO he had a potential source and would get

back to him. At the direction of TFO Zuniga, the CS arranged a meeting between LAO and TFO

Zuniga, who would be acting in an undercover capacity as the cocaine source. Prior to the

meeting, LAO told CS that LAO’s associate would be attending the meeting.

        6.       CS has signed a DEA confidential source agreement and is providing information

voluntarily. CS is not receiving consideration on any current or pending criminal charges. CS is

in the United States illegally and hopes to obtain immigration benefits as a result of his/her

cooperation with investigators. Initially, CS was not being paid; however, CS is also now

working in exchange for monetary consideration. Investigators have made no promises or

assurances to CS, but have worked to obtain temporary immigration status for CS that will

Affidavit of DEA Task Force Officer Scotty Nowning                                           Page 2
            Case 3:20-mj-00128        Document 1-1       Filed 06/05/20    Page 3 of 6




enable CS to reside legally in the United States during the pendency of this investigation.

Investigators have found CS to be credible and reliable.

       7.      CS’s criminal record includes a felony conviction for illegal entry. CS also has

multiple prior arrests, including a felony arrest for possession of a controlled substance. CS has

one prior misdemeanor arrest for a crime of dishonesty—Giving False Information to Police. SA

Carr and TFO Zuniga spoke to CS regarding CS’s arrest for giving false information to police.

CS reported that CS had previously been arrested for illegal entry and feared deportation if CS

provided police with CS’s real name. Therefore, CS initially gave law enforcement a false name

and date of birth, but eventually gave CS’s true identity to officers.

       8.      On June 2, 2020, CS and TFO Zuniga, met with LAO’s associate (later identified

as KIM) in an undercover (UC) capacity to discuss the sale of kilogram quantities of cocaine to

KIM. The meeting took place in the Walmart Parking lot located at 3002 Stacy Allison Way in

Woodburn, Oregon. At the meeting, KIM discussed wanting to purchase kilogram quantities of

cocaine from TFO Zuniga for the purpose of converting the cocaine into “Crack” then

distributing to consumers. KIM told TFO Zuniga that when he is able to get consistent product,

he sells five to ten kilograms a week. The meeting between TFO Zuniga and KIM was audio

recorded.

       9.      KIM discussed needing a reliable source of supply and stated he was ready to

purchase one kilogram of cocaine. TFO Zuniga (in a UC capacity), told KIM he would be a

reliable source of supply for cocaine and explained that TFO Zuniga preferred to sell cocaine at

quantities of two kilograms at a time.

///



Affidavit of DEA Task Force Officer Scotty Nowning                                            Page 3
             Case 3:20-mj-00128       Document 1-1       Filed 06/05/20      Page 4 of 6




       10.      KIM originally requested one kilogram of cocaine to start for the agreed price of

$28,000. TFO Zuniga told KIM if KIM was unable or willing to purchase two kilograms, TFO

Zuniga would attend to KIM the following week. KIM requested one day to be able to come up

with $56,000 USC in order to purchase two kilograms of cocaine from TFO Zuniga.

       11.      Later the same evening, the CS received a communication from KIM where KIM

agreed to purchase two kilograms of cocaine and requested a time and date for the meeting. At

TFO Zuniga’s direction, the CS told KIM the deal could occur on June 4, 2020, around 4:00

p.m.; KIM responded back affirming the transaction.

       12.      On June 4, 2020, at approximately 2:52 p.m. CS called KIM and told him he was

ready. KIM told CS he would leave in 15 minutes. CS instructed KIM to call him when he got

to Keizer, Oregon. At 4:00 p.m., KIM sent CS a text message advising he was at the In and Out

Burger at the Keizer Station in Keizer, Oregon. At the investigator’s request, CS told KIM to go

to the Denny’s restaurant, located just east of Interstate-5 at the Market Street exit, in Salem,

Oregon.

       13.      At approximately 4:13 p.m., surveillance units observed KIM arrive in the

parking lot of the Denny’s restaurant located at 3680 Market Street NE in Salem, Oregon. KIM

was driving a black 2015 Honda Accord bearing Oregon plate 106HTH. KIM called the CS and

told him he had arrived at Denny’s. CS sent KIM a photograph of 2 faux kilograms of cocaine

with a cellular phone showing the time and date in front of the kilograms. KIM then sent a

photograph of bulk U.S. Currency with a cellular phone with the date and time in front of the

Currency.

       14.      CS then directed KIM to the Double Tree Hotel located at 1590 Weston Court NE

in Salem, Oregon. CS told KIM he would meet him in the hotel lobby. Surveillance units

Affidavit of DEA Task Force Officer Scotty Nowning                                            Page 4
              Case 3:20-mj-00128      Document 1-1        Filed 06/05/20    Page 5 of 6




followed KIM from the Denny’s to the Double Tree Hotel parking lot where KIM exited his

vehicle carrying a black backpack and started walking towards the hotel lobby. At

approximately 4:23 p.m., members of the Salem Police Street Crimes team took KIM into

custody in the parking lot. A search of the backpack incident to arrest revealed a clear vacuum

sealed back containing an unknown quantity of bulk U.S. currency in rubber-banded bundles, a

vacuum sealer, an extra vacuum seal bag and a box cutter. During the June 2, 2020, meeting

between KIM, the CS and TFO Zuniga, KIM told TFO Zuniga he would bring a sealer so he

could sample the product and then reseal it.

        15.      KIM was transported to the DEA Salem Resident Office where TFO Nowning

advised him of his Miranda Warnings and attempted to interview him. KIM informed TFO

Nowning he would not answer questions without first speaking to an attorney. TFO Nowning

asked KIM if he had an attorney he would like to call and he said he needed to speak to his

family first.

                                             Conclusion

        16.      Based on the foregoing, I have probable cause to believe, and I do believe, that

Michael Don KIM committed the crime of Attempted Possession with Intent to Distribute

Cocaine in violation of Title 21 United States Code, Sections 841(a)(1), (b)(1)(B) and 846. I

therefore request that the Court issue a criminal complaint and arrest warrant for Michael Don

KIM.

        17.      Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Ashley

Cadotte, and AUSA Cadotte advised me that in her opinion the affidavit and complaint are



Affidavit of DEA Task Force Officer Scotty Nowning                                           Page 5
           Case 3:20-mj-00128        Document 1-1        Filed 06/05/20     Page 6 of 6




legally and factually sufficient to establish probable cause to support the issuance of the

requested criminal complaint and arrest warrant.



                                              By Phone
                                              SCOTTY NOWNING
                                              Task Force Officer
                                              Drug Enforcement Administration

       Subscribed and sworn in accordance with the requirements of FED. R. CRIM . P. 4.1 by

telephone at _____
              11:09 a.m/p.m.
                        xxxxon this 5th day of June 2020.



                                              ___________________________________
                                              HONORABLE YOULEE YIM YOU
                                              UNITED STATES MAGISTRATE JUDGE




Affidavit of DEA Task Force Officer Scotty Nowning                                            Page 6
